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            IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

LESTER DOBBEY, et al.,                          )
                                                )
                     Plaintiffs,                )
                                                )
                    v.                          )      Case No. 13 C 1068
                                                )
MICHAEL STUDER, et al., 1                       )      Judge Robert M. Dow, Jr.
                                                )
                    Defendants.                 )      Mag. Judge Mary M. Rowland

                     PLAINTIFF’S UNOPPOSED MOTION
                 TO SUBSTITUTE AND WITHDRAW COUNSEL

      Plaintiff, LESTER DOBBEY, by and through his attorneys, Loevy & Loevy,

respectfully moves this Court to substitute Loevy & Loevy as Plaintiff’s counsel of

record and withdraw Plaintiff’s current counsel, Brinks, Gilson & Lione. In support

of his motion, Plaintiff states as follows:

      1.     In February 2013, Mr. Dobbey filed his complaint pro se and also filed

a motion for recruitment of counsel. The Court granted Plaintiff’s motion and

recruited Brinks, Gilson & Lione to represent him in this matter. Brinks, Gilson &

Lione happily accepted the Court’s recruitment and ably represented Plaintiff.

      2.     Plaintiff has since retained Loevy & Loevy, an experienced civil rights

firm, to represent him in this proceeding. Loevy & Loevy now seeks leave from this

Court to appear on Plaintiff’s behalf.




1The caption in this case previously read “Dobbey, et al. v. Wielding, et al.” William
Wielding was terminated as a defendant on January 7, 2014, when Plaintiff filed his
Revised Second Amended Complaint (Doc. No. 35). As such, Michael Studer is currently
the first named Defendant that remains a party in this case.
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      3.     Plaintiff’s prior counsel, Brinks, Gilson & Lione, wishes to withdraw its

appearance accordingly.

      4.     On April 2, 2014, Defendants’ counsel informed Plaintiff that

Defendants do not oppose his Motion.

      WHEREFORE, Plaintiff respectfully moves this Court to enter an Order

granting Loevy & Loevy leave to enter an appearance on his behalf and permitting

his current counsel, Brinks, Gilson & Lione, to withdraw its appearance in this

matter, or for any other relief this Court deems necessary.



                                              Respectfully submitted,

                                              /s/ Sarah Grady
                                              Sarah Grady
                                              One of Plaintiff’s Attorneys



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                         CERTIFICATE OF SERVICE

       I, Sarah Grady, an attorney, certify that on April 2, 2014, I caused the
foregoing Plaintiff’s Unopposed Motion to Substitute and Withdraw Counsel to be
filed using the Court’s CM/ECF system, which effected service on all counsel of
record.

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                                            /s/ Sarah Grady
                                            Sarah Grady
                                            One of Plaintiff’s Attorneys




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